These are companion cases to Rhoads Drilling Company et al. v. James V. Allred, Attorney General, this day decided. (Ante, p. 229.) Relators are the owners of oil and gas leases covering certain tracts in the bed of the Sabine River, and identical in date and terms, except the description of the area leased, with the leases involved in that case. Respondent declined to approve a supplemental contract executed by the Board of Mineral Development and relators on July 1, 1933, containing substantially the same recitals, terms and conditions as those contained in the supplemental contract in that case construed. The pleadings present similar facts and the briefs the same questions.
The writ of mandamus will issue in accordance with the prayer of relator's petition, and directing approval of the contract as of July 1, 1933.
Adopted by the Supreme Court, April 18, 1934. *Page 252 